                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                GOGO WAY TRUST,                                       No. 64410
                Appellant,
                vs.
                NEW YORK COMMUNITY BANK,
                IIHH:HH:4111H:rart
                SHADOW WOOD HOMEOWNERS                                No. 64511FILED
                HHHILHHHHHH1111:
                Appellant,
                vs.                                                               FEB 2 5 2016
                NEW YORK COMMUNITY BANK,                                       TRACIE K LINDEMAN
                Respondent.                                                 CLER54IDIUUPREME COURT
                                                                            By           j`__.4„dar.
                                                                                  DEPUTY CLERK

                         ORDER VACATING JUDGMENT AND REMANDING
                            These are consolidated appeals from a district court order
                awarding attorney fees in a real property action. Eighth Judicial District
                Court, Clark County; Abbi Silver, Judge.
                            In light of our opinion in Shadow Wood Homeowners Ass'n,
                Inc. v. New York Community Bancorp., Inc.,   132 Nev., Adv. Op. 5, P.3d
                 (2016), wherein we vacated the district court's grant of summary
                judgment and remanded the matter to the district court for further
                proceedings, we likewise vacate the district court's order awarding
                attorney fees and remand these matters to the district court for further
                proceedings consistent with this order and our opinion in Shadow Wood.
                            It is so ORDERED.



                                          030.                      C.J.
                                        Parraguirre


                                          , J.
                                                           Cherry
SUPREME COURT
     OF
   NEVADA



                                                                                    no-06os
                 cc:   Eighth Judicial District Court Dept. 15
                       Chief Judge, Eighth Judicial District Court
                       Law Offices of Michael F. Bohn, Ltd.
                       Aldridge Pite, LLP
                       Alessi &amp; Koenig, LLC
                       Tharpe &amp; Howell
                       Eighth District Court Clerk




 SUPREME COURT
         OF
      NEVADA
                                                      2
 (0) 1947A


Fira
